   Case: 1:02-cr-00464 Document #: 645 Filed: 03/29/16 Page 1 of 2 PageID #:2815




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                               )
 UNITED STATES OF AMERICA,                     )
                                               )
         Plaintiff,                            )         No. 02-cr-464-8
                                               )
                v.                             )         Judge Ronald A. Guzmán
                                               )
 OMAR AVILA                                    )
                                               )
        Defendant.                             )


                        MEMORANDUM OPINION AND ORDER

       The Court denies Defendant’s Motion for Reconsideration of Previous Filed Motion for

Reduction of Sentence [613] and his Motion to Reduce Sentence Pursuant to 18 U.S.C.

3582(c)(2) [624].

                                           STATEMENT

       On November 3, 2004, Defendant pleaded guilty to one count of drug conspiracy and

racketeering (18 U.S.C. § 1962(c)) and one count of murder (18 U.S.C. § 848(e)(1)(A)). (Def.’s

Plea Agreement [Dkt. # 362] at 2.) As part of his plea agreement, he admitted to various

egregious acts beyond murder and drug trafficking, such as abducting, torturing, sodomizing,

murdering, and burning his victim. (Id.) He now moves to reduce his sentence pursuant to 18

U.S.C. § 3582(c)(2), claiming that Amendment 782 to the United States Sentencing Guidelines

reduced the applicable sentencing range.

       Under Section 3582(c)(2), courts may reduce a defendant’s previously imposed sentence

where “[he] has been sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. § 994(o).” 18 §
   Case: 1:02-cr-00464 Document #: 645 Filed: 03/29/16 Page 2 of 2 PageID #:2816




U.S.C. 3582(c)(2). But that has not happened here. While Amendment 782 indeed lowered the

penalties for most drug offenses in Guidelines Section 2D1.1, see U.S.S.G App. C., Amend. 782,

Defendant was not sentenced under that provision. Rather, the parties agree that he was

sentenced under Guidelines Section 2A1.1, (see Gov’t’s Br. in Opp’n [Dkt # 626] at 5; Def.’s

Mot. [Dkt # 613] at 1), which applies if a defendant’s victim is killed under circumstances that

constitute murder, see U.S.S.G. §§ 2A1.1(a), 2D1.1(d). Accordingly, Amendment 782 did not

lower Defendant’s applicable sentencing range, and his motion therefore fails as a matter of law.

See United States v. Taylor, 778 F.3d 667, 672 (7th Cir. 2015) (explaining that if a defendant’s

applicable guideline range was not lowered by amendment, then courts must deny relief under 18

U.S.C. § 3582(c)(2)); United States v. Hatfield, No. 08-CR-30020-DRH-2, 2015 U.S. Dist.

LEXIS 115604, at *3 (S.D. Ill. Aug. 31, 2015) (rejecting a defendant’s Amendment 782

argument because he was sentenced under the first-degree murder guidelines rather than the drug

quantity table).

                                        CONCLUSION

       The Court denies Defendant’s Motion for Reconsideration of Previous Filed Motion for

Reduction of Sentence [613] and his Motion to Reduce Sentence Pursuant to 18 U.S.C.

3582(c)(2) [624].

SO ORDERED.                                         ENTERED: March 29, 2016




                                                    ____________________________________
                                                    HON. RONALD A. GUZMÁN
                                                    United States District Judge




                                               2
